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  August 14, 2024


  BY ECF
  The Honorable Margo K. Brodie
  United States District Judge
  Eastern District of New York
  United States Courthouse
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Re:           SEC v. GPB Capital Holdings LLC, et al., No. 21-cv-00583-MKB-VMS
  Dear Chief Judge Brodie:
  We represent the Court-appointed monitor, Joseph T. Gardemal III (the “Monitor”), in the
  above-referenced matter. Pursuant to Paragraph 33(b) of the Court’s Amended Order appointing
  the Monitor, dated April 14, 2021 (the “Amended Order”), we respectfully submit the Monitor’s
  Monthly Fee Statement for July 2024, which includes the fees for the Monitor’s counsel, Hogan
  Lovells US LLP, as expenses. Under the Amended Order, no further action from the Court is
  needed at this time. See Paragraph 33(j) of the Amended Order. This Monthly Fee Statement
  will be included in the next Quarterly Fee Application submitted to the Court, pursuant to
  Paragraphs 34 and 35 of the Amended Order.

  Respectfully submitted,



  Robert B. Buehler
  Partner
  robert.buehler@hoganlovells.com
  D 212-918-3261




  Hogan Lovells US LLP is a limited liability partnership registered in the District of Columbia. “Hogan Lovells” is an international legal practice that includes Hogan Lovells US LLP and Hogan
  Lovells International LLP, with offices in: Alicante Amsterdam Baltimore Beijing Birmingham Boston Brussels Colorado Springs Denver Dubai Dusseldorf Frankfurt Hamburg Hanoi
  Ho Chi Minh City Hong Kong Houston Johannesburg London Los Angeles Luxembourg Madrid Mexico City Miami Milan Minneapolis Monterrey Moscow Munich New York Northern
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                         EXHIBIT 1
  Case 1:21-cv-00583-MKB-VMS Document 216 Filed 08/14/24 Page 3 of 4 PageID #: 4304


                                                                          Alvarez & Marsal Disputes and Investigations, LLC
                                                                                              655 15th Street, NW, Suite 600
                                                                                                      Washington, DC 20005
                                                                                                    Telephone: 202-729-2100
                                                                                                           Fax: 202-729-2101


August 14, 2024




GPB Capital Holdings, LLC
and Highline Management, Inc.
Attn: Rob Chmiel, CEO
55 Old Field Point Road, Suite 1E
Greenwich, CT 06830



Invoice Reference #: 829446-42
Court Appointed Independent Monitor, Joseph T. Gardemal III
Appointment Date: 02/12/2021
Monthly Fee Application from 07/01/2024 through 07/31/2024


Dear Mr. Chmiel:

Please find attached Alvarez & Marsal's invoice for Professional Services rendered to GPB Capital Holdings,
LLC and Highline Management, Inc. in relation to the Court Appointed Independent Monitor, Joseph T.
Gardemal III. A&M requests payment in the amount of $659,993.04 for the services rendered. As a reminder,
payment is due within 30 days.

I hereby certify that I have read the Application and that the hours worked by the individuals billed are correct
and that the total amount invoiced is for work performed.

Please let me know if you have any questions regarding this invoice. We appreciate the opportunity to be of
service to you.

Sincerely,




Joseph Gardemal
Managing Director
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                                                                                                 Alvarez & Marsal Disputes and Investigations, LLC
                                                                                                                     655 15th Street, NW, Suite 600
                                                                                                                             Washington, DC 20005
                                                                                                                           Telephone: 202-729-2100
                                                                                                                                  Fax: 202-729-2101



829446
                                                                                                                                Reference Invoice #:
August 14, 2024                                                                                                                          829446-42



GPB Capital Holdings, LLC and Highline Management, Inc.
Attn: Rob Chmiel, CEO
55 Old Field Point Road, Suite 1E
Greenwich, CT 06830


Court Appointed Independent Monitor, Joseph T. Gardemal III
Appointment Date: 02/12/2021
Monthly Fee Application from 07/01/2024 through 07/31/2024


A&M Professional Fees                                                                        $          451,582.80
  80% of Professional Fees Total                                                                                         $              361,266.24


Expenses
         A&M Out-of-Pocket Expenses                                                                                      $                 8,035.80
         Counsel_Hogan Lovells LLP                                                                                       $               290,691.00
  Expense Total                                                                                                          $              298,726.80
Admin Fee (0% of Professional Fees)                                                                                      $                     -




                           Total Professional Fees and Expenses Payable                                                  $              659,993.04


                       Professional Fees Subject to 20% Holdback                                                         $                 90,316.56



Wire Instructions:                                                                          Mail Instructions:
Bank:                  Wells Fargo                                                          Alvarez & Marsal Disputes and Investigations, LLC
ABA:                   121000248                                                            Attn: Liz Carrington
Swift:                 WFBIUS6S                                                             600 Madison Avenue
                                                                                            8th Floor
Account Name:          Alvarez & Marsal Disputes And Investigations LLC                     New York, NY 10022
Account Number:        2000018590539
Reference Invoice #:   829446-42
Notification Email:    treasury@alvarezandmarsal.com
For security purposes, all bank account changes should be verbally verified by contacting
A&M using a known telephone number BEFORE funds are sent to a different account.
